Case 2:03-cv-02405-.]PI\/|-STA Document 94 Filed 05/09/05 Page 1 of 2 Page|D 107

Pn.a;) rif _' ___ =:).c.
IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSEE ,H_F h L_ _ x
WESTERN DIVISION UEHAY 9 AN 3 34

 

 

ROBERT SCOTT LEWIS,
Plaintif£,

v.
NO. 03~2405 Ml/An
SHELBY COUNTY GOVERNMENT,
and Sgt. J.L. MAYES,
individually and in his
official capacity,

Defendants.

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JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Order Granting Defendants' Motion for Summary
Judgment, entered May 6, 2005, judgment is hereby entered in
favor of Defendants Shelby County Government and Sgt. J.L. Mayes
and against Plaintiff Robert Scott Lewis.

APPROVED:

JA@\Q N“

JON P. MCCALLA
UN ED STATES DISTRICT COURT

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Date Clerk of Court

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(Bj ' Deputy Clerk

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Notice of Distribution

This notice confirms a copy of the document docketed as number 94 in
case 2:03-CV-02405 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

